Case 1:02-cV-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 1 of 9 Page|D 707

01129.‘58503-MDC F[:_ED BY'---»_..,,,______DC
\N THE uNlTED sTATES DISTRlcT couRT 05 JUN 17 pH tr
FOR THE WESTERN DlSTRICT OF TENNESSEE ` ho
EASTERN DlVlSION §':€`£f)§éi':?€‘f " "\
§Ll'?""’f< U.S.DLIJ)§?OU
!. U. l">. TN JACKSON

LARRY STEVE MELTON, LARRY S. |V|ELTON,
and R & J OF TENNESSEE, |NC.,

Piaintiffs,

NO.Z 1-02-1152 B
JURY DEl\/|ANDED

VS.

BANK OF LEX|NGTON branch Of BANK CF FR!ENDSH|P,
TERESA HARR|S, B & H INVESTI\/|ENTS, lNC., BENN|E
FES|V||RE, D|ANE TUCKER, HAROLD VVALDEN
BLANKENSH|P, DEAN BLANKENSH|P, FRANK|E
STANF|LL, KEV|N CARTER, The law firm Of |\/\lLA|\/|,
CARTER & STANF|L.L, REG!NA I\/I|LLER, TODD
HENDERSON, VV|LL|AI\/| W|LH|TE, DAV|D R|DDICK,
The |aW firm Of HOLMES, RlCH, S|GLER & R|DD|CK,
DON WEBSTER, J|MI\/IY BARBOUR, VVALDON GW|NN,
JAIV|ES PUTNA|V|, TIN| PlLK|NGTON, JA|'\/|ES E. S|V||TH,
M. \/. WlLL|AMS, JR., |NVESTMENT f\/IANAGEMENT
F|NANCE, |NC., and JOHN DOES |, |l, H| and |V,

\_d`_/\_/V\_.l\_l\_/\_l\_/\_/\_z\_l\_/`_/\_/\_/\_/\_/\_l\_l\_/

Defendants.

HAROLD VVALDEN BLANKENSH|P,
Defendant/Third Party Plaintiff,

VS.

JOHN MELTON, HOVVARD DOUGLASS, AMER|CAN
|-|OI\/|E F|NANC|AL SERV|CES, |NC., Al\/|ER|CAN
HOME F|NANC|AL SERV|CES |l, |NC., BLANKENSH|P/
IVIELTON A\/|ATION, |NC.l LARRY STEVE |\/|ELTON,
LARRY S. |V|ELTON, R 81 J OF TENNESSEE, |NC.,
BANK OF LEX|NGTON, BRANCH OF FR|ENDSH|P,

VVVVVV\_/VVVVVVV

Third Party Defendants.

Thls document entered on the docket sheet in compilanca
with Ru¥e 58 and/or 79 (a) FHCP on

Case 1:02-cV-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 2 of 9 Page|D 708

01129}58503-MDC

LARRY S. N|ELTON,

P|aintiff/Third Party Defendant/
Tnird Party P|aintiff,

VS.

BRADLEY KlRK, CARTER, STANF|LL & K|RK, PLLC,
DAN|EL PERKY, SH|RLEY BLANKENSH|P, KELLY VV.
BLANKENSH|P, BLANKENSH|P CONSTRUCT|ON, LLC.
BLANKENSH|P/MELTON REAL ESTATE, |NC., BETH
i\/IALOAN, JENN|FER AZB|LL, JACK HOLl\/|ES, PAUL
PRlDDY, M|CKEY GRANGER, DEi\JNlS HUBBARD,
K.C. ARNETT, R|CHARD l\/|CCORIV||CK, BLANKENSH|P
BROTHERS’ CONSTRUCTION COi\/|PANY, C|TY OF
LEX|NGTON, KEV|N CARTER, FRANK|E STANFILL,
HAROLD WALDEN BLANKENSH|P, DEAN
BLANKENSH|P, REGINA |V|lLLER, VV|LL|A|\/l VV|LHITE,
DAV|D R|DD|CK, J|MMY BARBOUR, VVALDON GVV|NN,
JAi\/|ES PUTNAM, TI|V| PILK|NGTON, JAN|ES E. S|\/||TH,
i\/i. V. WlLl_|Ai\/|S, JR., BANK OF LEXlNGTON, Branch Of
BANK OF FR|ENDSH|P, B & H |NVESTMENTS, |NC.,
BENNlE FES|V||RE, D|ANE TUCKER, and JOHN DOE |,

VVVV\_¢\_¢VVVVVVV\_/VVVVVV`._/V~.._,~.,_,`.__/

Third Party Defendants.

 

ORDER DiSM|SS|NG LARRY S. NlELTON’S COUNTER CLA|NlS/CROSS-CLAIN|S
AGA|NST THE C|TY OF LEX|NGTON, TENNESSEE

 

This matter came before this Court on N|ay 27, 2005, upon Third-Party Defendant
City of Lexington, Tennessee's Motion to Dismiss P|aintiff/Third-Party Plaintiff’s claims
against the City of Lexington.

Upon review of the parties’ pleadings and responses, this Court finds as follows:
1. That the City of l_exington is immune from suit in the federal Courts under the

Tennessee Governmenta| Tort Liabi|ity Act (the “TGTLA”), codified at Tenn. Code Ann.

Case 1:02-cv-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 3 of 9 Page|D 709

01129/58503-|`\/|DC

§29-20-101 et seq., and that this Court therefore lacks subject matter jurisdiction over

P|aintiff’s tort claims against the City of Lexington under Tenn. Code Ann. § 29-20-307.

 

See Cunninorham v. Reid, 337 F.Supp.2d 1064 (VV.D. Tenn. 2004); Fromuth v. Metropo!ifan
Government ofNash\/ilie, 158 F. Supp.2d 787 (|Vl.D. Tenn. 2001 ). Alternatively this court
declines to exercise supplemental jurisdiction over these claims See Gredorv v. Shelbv
M‘y, 220 F.3d 433 (6‘h Cir. 2000); see also Maxweil v. Conn. 1990 VVL 2774 (6th Cir.
1990); SQur/ock v. Whitley, 971 F.Supp.1166 (l‘v'l.D. Tenn. 1997),

2. That there is no sufficient basis for F’laintiff’s claims that the City of Lexington
violated his civil rights under the First, Fifth, and Fourteenth Arnendments to the United
States Constitution.

3. That P|aintiff’s claims against the City of Lexington underthe TGTLA Were not raised
until October12, 2004, outside of the twelve (12) statute of limitation/repose set forth in the
TGTLA, and are therefore time-barred under Tenn. Code Ann. § 29-20-305(1:)).

4. That the City of Lexington is immune from suit in federal courts for P|aintiff’s
allegations of defamation under Tenn. Code Ann. § 29-20-205(2).

5. That P|aintiff has failed to allege sufficient, non-conclusory facts of the City of
Lexington’s involvement in any civil conspiracy against him.

6. That the City of t_exington is immune from suit in federal courts for Plaintiff’s
allegations of violations ofthe Truth-|n-Lending Act. See Mitchell v. Mai'or Federal Savr'nos
Mag, 687 F.Supp. 1164 (S.D. Ohio 1987).

7. That P|aintiff’s allegations against the City of Lexington do not allege activity

involving the City of Lexington, Tennessee, and the other Defendants sufficientto establish

3

Case 1:02-cv-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 4 of 9 Page|D 710

01129/58503-MDC

"ongoing, coordinated behavior among the defendants that would constitute an association
in fact," an essential element for a RlCO claim. Therefore, P|aintiff's R|CO claims must
be dismissed
8. That P|aintiff’s claims show no fiduciary relationship between the City of Lexington
and the P|aintiff sufficient to establish a breach of fiduciary duty by the City of Le)<ington.
9. That P|aintiff’s claims show no indication of a business transaction between the
Plaintiff and the City Of Lexington nor any fraudulent or deceptive practice by the City of
l_exington sufficient to establish a violation ofthe Tennessee Consumer Protection Act, and
that any such allegations fail outside the five (5) year statute of repose under the
Tennessee Consumer Protection Act, codified at Tenn. Code Ann. § 47-18-110.
10. That Piaintiff’s claims fail to show any exercise or control by the City of Lexington
over P|aintiff’s assets sufficient to sustain the P|aintiff’s allegations of conversion
11. That the facts fail to indicate any contract between the F’|aintiff and the City of
Lexington sufficient to establish P|aintift"s allegations of breach of contract or procurement
of a breach of contract

lt is therefore ORDERED that Third-Party Defendant City of Lexington's l\/lotion to
Dismiss be granted and that all claims by P|aintiff/Third-Party Plaintiff Larry S. l\/le|ton
against the City of Lexington, Tennessee be and h eby are dismissed

iT is so oRDERED this / 1 i“ day or

 
 

 

. DA |EL BREEN
N|T D STATES D|STR|CT JUDGE

4

Case 1:02-cv-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 5 of 9 PagelD 711

01 129/58503-|‘\/| DC

APPROVED FOR ENTRY:

RA|NEY, K|ZER, REV R 81 BELL, PLC

Byr ja

DALE cor\i R JR., BPR15419
Attorneysf rCi of Lexington, TN

P.O. Box 1147
Jackson, TN 3 302-1147
(731) 423-241

CERTlF|CATE OF SERV|CE

The undersigned certifies that a true copy of this pleading or document was served
upon counsel for each of the parties by mailing postage prepaid or by delivery to the person

or office of such counsel.

l\/lr. Larry S. lVlelton, Pro Se
116 Hidden Valley Cove
Lexington, TN 38351

Mr. Tim Edwards
lVlr. Robert Cox

Glassman, Edwards, Wade & Wyatt, P.C.

26 North Second Street
l\/lemphis, TN 38103

lVlr. Richard Glassman
|Vlr. R. Douglass Hanson

Glassman, Edwards, Wade & Wyatt, P.C.

26 North Second Street
|Vlemphis, TN 38103

l\/lr. L. Lee Harrell

Harreli & Harrell

110 Northwest Court Square
Trenton, TN 38382

l\/lr. Daniel D. Warlick

Warlick Law Office

611 Commerce Street, Suite 2712
Nashviile, TN 37203

lVlr. William S. Walton
Miller and lVlartin

1200 One Nashville Place
150 Fourth Ave. N
Nashviile, TN 37219-2433

l\/lr. James L. Kirby

l\/lr. Jeffrey L. Griffin

Harris, Shelton, Dun|ap, Cobb & Ryder
One Commerce Square, Suite 1700
40 South |Vlain Street

l\/lemphis, TN 38103

t\/lr. Jerry E. l\/litchell

l\/ir. Craig C. Con|ey

Thomason, Hendrix, l-larvey, Johnson &
l\/litche||

One Commerce Square, Suite 2900

40 S. l\/lain Street

l\/lemphis, TN 38103

Nlr. Bradley G. Kirk
Carter, Stanfill & Kirk
25 Natchez Trace Drive
P.O. Box 476
Lexington, TN 38351

Case 1:02-cv-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 6 of 9 PagelD 712

01129;'58503-MDC

This the 13th day of June, 2005.

 

 

1)'1<'111CCTOUR - WESTENR 1

SR1CT 0

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 601 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
J unc 20, 2005 to the parties listed.

 

Robert A. CoX

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/lemphis7 TN 38103

.1 ohn T. DoWning

Federal Deposit lns. Corp.
550 17th Street NW
Washington, DC 20429

.1 ohn D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jacl<Son7 TN 38302--114

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jacl<Son7 TN 38302--114

Larry S. Melton
116 Hidden Valley Cove
Lexington, TN 38351

Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/lemphis7 TN 38103

.1 ohn D. Stevens

RAINEY KIZER REVIERE & BELL
209 East Main Street

P. O. BoX 1147

Jacl<Son7 TN 38302--114

Case 1:02-cv-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 8 of 9

Daniel D. Warlick

LAW OFFICE OF DAN WARLICK
611 Commerce Street

Ste. 2712

Nashviile, TN 37203

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
Lexington, TN 38351

.1 effrey L. Griftin

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Craig C. Conley

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 South Main Street

Ste. 2900

1\/lemphis7 TN 38103

Beth Maloan
83 Bonaire Circle
Jacl<Son7 TN 38305

.1 effrey L. Griftin

HARRIS SHELTON DUNLAP COBB & RYDER
2700 One Commerce Square

1\/lemphis7 TN 38103

.1 erry E. Mitchell

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

R. Douglas Hanson

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

PagelD 714

Case 1:02-cv-01152-.]DB-tmp Document 601 Filed 06/17/05 Page 9 of 9 PagelD 715

William F. Burns
WATSON BURNS, LLC
One Commerce Square
Ste. 2600

1\/lemphis7 TN 38103

William S Walton
1\/[[LLER & MARTIN
1200 One Nashville Place
150 Fourth Ave. North
Nashviile, TN 37219--243

.1 ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

L. Lee Harrell

HARRELL & HARRELL
110 Northwest Court Sq.
Trenton, TN 38382

Honorable .1. Breen
US DISTRICT COURT

